                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

  PARAGON COMPONENT SYSTEMS, LLC,                       )
                                                        )        Case No. 1:24-cv-246
            Plaintiff,                                  )
                                                        )        Judge Atchley
  v.                                                    )
                                                        )        Magistrate Judge Steger
  QUALTIM, INC., et al.,                                )
                                                        )
            Defendants.                                 )

                                         SCHEDULING ORDER

       1. Introduction: The parties held a discovery planning meeting via video conference on
          October 14, 2024.

       2. Jurisdiction: In this case, the subject matter jurisdiction of the Court has been invoked
          pursuant to 28 U.S.C. §§ 1331, 1332, and 1367 and is not in dispute.

       3. Consent to a Magistrate Judge: The parties do not consent that all proceedings in this case
          may be conducted by a United States Magistrate Judge in accordance with 28 U.S.C.
          § 636(c).

       4. Settlement / Alternative Dispute Resolution: The parties shall discuss the possibility of
          utilizing the Federal Court Mediation Program in this case. If the parties believe the Federal
          Court Mediation Program can aid in resolving the case, information is available on the
          Court’s website and can be requested in writing from the Division Manager, U.S. District
          Court, 900 Georgia Avenue, Room 309, Chattanooga, Tennessee 37402.

       5. Disclosure and Discovery:

              (a) Discovery Plan: The parties have held a discovery planning meeting and submitted
                  a discovery plan as required by Rule 26(f).

              (b) Initial Disclosures: The parties will make all disclosures required by Rule 26(a)(1)
                  on or before November 15, 2024.

              (c) Expert Testimony: Plaintiff shall disclose any expert testimony in accordance with
                  Rule 26(a)(2) on or before April 1, 2025. Defendant shall disclose any expert
                  testimony in accordance with Rule 26(a)(2) on or before April 29, 2025. The parties
                  shall disclose rebuttal testimony within thirty days after the other party’s disclosure.




Case 1:24-cv-00246-CEA-CHS Document 35 Filed 10/24/24 Page 1 of 4 PageID #: 344
              See Section 6(c), below, regarding expert-related motions.

          (d) Final Witness List: On or before May 13, 2025, the parties shall provide to all other
              parties and file with the court a final witness list in accordance with
              Rule 26(a)(3)(A)(i). Within five days after service, the final witness list may be
              supplemented. After that time the list may be supplemented with leave of the Court
              and for good cause.

          (e) All Discovery: All discovery—including the taking of depositions, requests for
              admissions, and all discovery-related motion practice—shall be completed by June
              10, 2025. After that date, the parties may conduct discovery by agreement, but the
              Court will not involve itself in any disputes that may arise.

          (f) Pretrial Disclosures: On or before October 28, 2025, the parties shall make the
              pretrial disclosures specified in Federal Rule of Civil Procedure 26(a)(3)(A)(ii) and
              (iii). All deposition testimony to be offered into evidence must be disclosed to all
              other parties on or before this date.

    6. Other Scheduling Matters:

          (a) Amendment of Pleadings: If any party wishes to join one or more additional parties
              or amend its pleadings, a motion for joinder or for leave to amend shall be filed on
              or before April 1, 2025.

          (b) Dispositive Motions: All dispositive motions under Rule 12 and all motions for
              summary judgment pursuant to Rule 56 shall be filed as soon as possible, but no
              later than July 8, 2025. The failure to timely file such motions will be grounds to
              summarily deny them. Absent extraordinary circumstances, the dispositive motion
              deadline will not be extended.

              The Court prefers not to receive statements of undisputed material facts and will
              disregard any such statement unless it is (i) jointly filed, (ii) contains no argument,
              and (iii) sets forth facts rather than the parties’ positions. If a “response” is filed,
              the Court will construe the statement as not jointly filed and disregard it.

          (c) Daubert Motions: All motions to exclude expert testimony pursuant to Federal
              Rule of Evidence 702 should be filed as soon as possible but no later than July 8,
              2025.

          (d) Motions in Limine: Any motions in limine must be filed no later than November
              4, 2025. The Court will not entertain a motion to exclude expert testimony styled
              as a motion in limine. Any motions to exclude expert testimony pursuant to Federal
              Rule of Evidence 702 must be filed on or before the Daubert motion deadline set
              forth above.

          (e) Special Requests to Instruct for Jury Trial: Pursuant to Local Rule 51.1, the parties
              shall confer and submit a single joint proposal for jury instructions and verdict form


                                     2
Case 1:24-cv-00246-CEA-CHS Document 35 Filed 10/24/24 Page 2 of 4 PageID #: 345
               to the Court no later than November 25, 2025. Before submitting the joint proposal,
               the parties must attempt to resolve any disagreements. To the extent there are
               disagreements as to specific instructions that cannot be resolved, the parties should
               provide competing instructions in their joint proposal. All jury instructions in the
               joint proposal, including agreed and competing instructions, shall be supported by
               citation to authority pursuant to Local Rule 7.4. A copy of the proposed jury
               instructions must be sent to atchley_chambers@tned.uscourts.gov as a Microsoft
               Word document.

               The Court uses the Sixth Circuit Criminal Pattern Jury Instructions as its model in
               formulating the final instructions given to the jury. Proposed jury instructions
               should follow the form of the pattern instructions.

    7. Final Pretrial Conference: A final pretrial conference will be held in Courtroom 1A on
       December 1, 2025, at 3:00 p.m. ET at the U.S. Courthouse, 900 Georgia Avenue,
       Chattanooga, Tennessee. All lawyers who plan to participate in the trial must be present in
       person at the final pretrial conference.

           (a) Final Pretrial Order: The parties shall submit a final pretrial order to the Court at
               least five business days prior to the final pretrial conference by sending it to
               atchley_chambers@tned.uscourts.gov. A sample copy of the final pretrial order
               is located on the Court’s website at http://www.tned.uscourts.gov.

           (b) Trial Briefs: Any trial briefs regarding anticipated evidentiary and legal issues must
               be filed at least three business days before the final pretrial conference.

           (c) Exhibits: Prior to the final pretrial conference, the parties shall meet and confer
               regarding the authenticity and admissibility of all exhibits they intend to use at trial.
               At least five business days prior to the final pretrial conference, the parties must
               file an exhibit list with exhibits pre-marked for identification purposes.

               Counsel should be prepared to discuss any objections to a party’s exhibit list at the
               final pretrial conference.

           (d) Courtroom Technology: On or before December 1, 2025, the parties shall disclose
               to one another and to the Court the technology they intend to use in the courtroom
               during trial and how they intend to use it (e.g. display equipment, data storage,
               retrieval, or presentation devices). This disclosure shall list (1) equipment they
               intend to bring into the courtroom and (2) Court-supplied equipment they intend to
               use. The parties shall confirm the compatibility and viability of their planned use
               of technology with the Court’s equipment. General information regarding
               equipment supplied by the Court is available on the Court’s website; specific
               questions should be directed to courtroom deputy Allison Laster at
               allison_laster@tned.uscourts.gov.

    8. Trial: The trial of this case will be held in Chattanooga, Tennessee, before the United States
       District Judge and a jury beginning on December 16, 2025, at 9:00 a.m. ET. The trial is


                                     3
Case 1:24-cv-00246-CEA-CHS Document 35 Filed 10/24/24 Page 3 of 4 PageID #: 346
        expected to last five (5) days. If this case is not heard immediately, it will be held in line
        until the following day or anytime during the week of the scheduled trial date.


 SHOULD THE SCHEDULED TRIAL DATE CHANGE FOR ANY REASON, THE
 OTHER DATES CONTAINED IN THIS ORDER SHALL REMAIN AS SCHEDULED.
 ANY FURTHER MODIFICATION OF THE DATES HEREIN MUST BE SOUGHT BY A
 MOTION TO MODIFY THOSE DATES/ DEADLINES.1

        SO ORDERED.

                                               /s/ Charles E. Atchley, Jr.
                                               CHARLES E. ATCHLEY, JR.
                                               UNITED STATES DISTRICT JUDGE




 1
   Due to the demands of the Court’s docket, all civil trials and pretrial hearings are conducted in
 Chattanooga, Tennessee. The Court will entertain a motion to conduct trial in another division of
 this Court upon a showing of good cause by the parties. Any such motions must be filed after the
 dispositive motions deadline but no later than four weeks before the final pretrial conference,
 and the grant or denial of the same rests in the Court’s discretion.


                                     4
Case 1:24-cv-00246-CEA-CHS Document 35 Filed 10/24/24 Page 4 of 4 PageID #: 347
